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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF SOUTH CAROLINA
CHARLESTON DIVISION

Jay Connor,
C/A No: 2:25-cv-553-JD-MGB

Plaintiff,

Vs. AFFIDAVIT OF PLAINTIFF IN SUPPORT
OF ENTRY OF DEFAULT
American Legacy Partners, Inc., J eremy Wilson
Individually, Mark Merritt Individually and John
Does 1-10

Defendants,

I, Jay C. Connor, being duly sworn, say:

1. {am the Plaintiff pro se in the above action.

2. A copy of the Federal Court Summons and Complaint was served on Defendant Mark
Merritt on February 25, 2025, and the return of service was filed on April 30, 2025. (ECF
Doc, 14).

3. Defendant Mark Merritt has not filed an Answer or otherwise responded to the Complaint

and the time within which to do so has expired.

AND NOTHING FURTHER.
2:25-cv-00553-JD-MGB Date Filed 05/15/25

Sworn before me this (51, day of Mass 2025.

ofary Public for South Carolina

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A

My commission expires: oO

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Connor

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